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                                   UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA,
                                          MIAMI DIVISION

Wells Fargo Bank, NA
                                                  AMENDED NOTICE OF REMOVAL Case No. 17 cv 20266
               vs.
                                                                         State Court Case No.: 13 - 013902 (CA-10)
John Bonaby, et als,

       Defendant Bonaby Management, Inc., hereby respectfully gives notice of removal of the above action

from the Circuit Court of the Eleventh Judicial Circuit In and For Miami-Dade, Florida (the “State Court

Action”) to the U.S. District Court on the following grounds:

1.     This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1332, 1441 and 1446.

2.     On and about April 16, 2013, Wells Fargo file its complaint (“Complaint”) in this case filed in State

       Court and captioned Wells Fargo vs. John Bonaby Case No.: 13 - 013902 (CA-10).

3.     This Notice of Removal is timely filed in accordance with 28 U.S.C § 1446(b). See also Fleming v.

       Colonial Stores, Inc., 279 F. Supp. 933 (N.D. Fla. 1968); Essenson v. Coale, 848 F. Supp. 987 (M.D.

       Fla. 1994).

4.     This Court has jurisdiction over this matter under 28 U.S.C. § 1332(a), because there is complete

       diversity of citizenship between Plaintiffs and Defendant Bonaby Management, Inc. Specifically it is

       clear that:

               a)      Plaintiff, Wells Fargo, by its signature on its complaint reflecting its residence as well as

                       by its articles of incorporation clearly indicate that it is a citizen of the State of North

                       Carolina 27607.

               b)      Defendant Bonaby Management, Inc. is a citizen of the State of Florida with a last known

                       address on Miami Beach.

               c)      All other defendants including John Bonaby individually are citizens of the State of

                       Florida.

5.     Because the Plaintiff is a citizen of another state, and the Defendant is a citizen the State of Florida

       complete diversity exists among the parties to this action.
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6.      The amount in controversy exceeds $75,000.00, exclusive of costs and interest.

7.      This Court has original jurisdiction over this action, as provided in 28 U.S.C. § 1332, because there is

        complete diversity in citizenship between the Plaintiffs and the Defendant, and more than $75,000.00,

        exclusive of interest and costs, is at stake. Thus the Defendant is entitled to remove this action to this

        Court in accordance with 28 U.S.C. §§ 1441(a)

8.      Pursuant to 28 U.S.C. §1446(d), Defendant will further serve written notice to opposing counsel of the

        filing, and a copy of the Notice of Removal is being filed with the Clerk of the Circuit Court of the

        Eleventh Judicial Circuit in and for Miami-Dade County, Florida.

9.      By this Notice of Removal, Defendant does not waive any objections it may have as to service,

        jurisdiction or venue, or any other defenses or objections it may have to this action. Defendant intends

        no admission of fact, law, or liability by this Notice, and expressly reserves all defenses, motions and/or

        pleas.

10.     Defendant intends to comply with Rule 81 and either answer or present other defenses or objections

        pursuant to the time allotted therein.

        WHEREFORE, the Defendant Bonaby Management, Inc., desiring to remove this case to the United

States District Court for the Southern District of Florida, requests that the filing of this Notice of removal with

this Court and the filing of the Notice of Removal with the Clerk of the Eleventh Judicial Circuit Court in and

for Miami-Dade County, Florida shall effect the removal of this case.

                                          CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy of the foregoing AMENDED Notice of Removal has been furnished by
email to Brock and Scott as attorneys for Plaintiff Wells Fargo and to Straley and Otto as attorneys for
defendant condominium association, this February 10, 2017. Respectfully Submitted,

/s/

Elliot L. Miller
Attorney for Defendant Bonaby Management, Inc.
5420 North Bay Road
Miami Beach, Fla. 33140
(305) 861-1313 [fax 305 861-1111]
elliotmillerservice@gmail.com
